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                                                                            FILED
                                                                       January 23, 2024
                      UNITED STATES DISTRICT COURT                   CLERK, U.S. DISTRICT COURT
                                                                     WESTERN DISTRICT OF TEXAS
                       WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION                                         ps
                                                                  BY: ________________________________
                                                                                          DEPUTY


UNITED STATES OF AMERICA                   §     No. 1:23-CV-00853-DAE
                                           §
      Plaintiff                            §
                                           §
vs.                                        §
                                           §
ABBOTT ET AL.                              §
    Defendants                             §




                                      ORDER

      The matter before the Court is the status of this case. The Court has received

Defendants’ Opposed Motion to Stay Proceedings (dkt no. 71) in which the State of

Texas has imposed a deadline upon the Court of 11:59pm January 23, 2024, under

the threat that if this Court did not rule on the motion by that time, it would seek

relief from the En Banc Fifth Circuit Court of Appeals. The Court notes that the

motion was not filed until 11:56pm CST on January 22, 2024, and therefore the

Court was not aware of the motion until the morning of January 23, 2024. The State

of Texas acknowledges that the United States opposes the motion, with the United

States advising this Court of its intent to respond to the motion late in the afternoon

of January 23, 2024. Because this Court feels it is imperative to give both sides of
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any dispute an opportunity to be heard, it will be impossible for this Court to file a

meaningful order in response to Texas’ imposed deadline. Naturally the State of

Texas can take whatever action it desires. However, this Court intends to expedite

its ruling and is going to make every effort to file a reasoned order addressing

defendants’ motion by Wednesday, January 24, 2024. Should the State of Texas’

concern be the United States request to disclose experts January 24, 2024, this Court

will extend that deadline until Friday, January 26, 2024.

      IT IS SO ORDERED.

      DATED: Austin, Texas, January 23, 2024.




                                           David Alan Ezra
                                           Senior United States District Judge
